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3    559/248-9833

4    Attorney for defendant Shirley Davidson

5

6
                 IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                          THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )           Case No. 1:12-cr-00168 AWI
10
                                          )
                                          )           STIPULATION AND
11
                        Plaintiff,        )           ORDER FOR CONTINUANCE OF
                                          )           COMPETENCY HEARING
12
     v.                                   )
                                          )           New Date: June 16, 2014
13
     SHIRLEY DAVIDSON, et al.,            )           Time: 1:30 p.m.
                                          )           Crtrm: Hon. Anthony W. Ishii
14
                        Defendants.       )
     ___________________________________ )
15

16          IT IS HEREBY STIPULATED by and between the parties hereto, and through

17   their respective attorneys of record herein, Grant B. Rabenn, counsel for the United

18   States, and Carolyn D. Phillips, counsel for defendant Shirley Davidson, that the

19   Competency Hearing in the above-entitled matter now set for May 30, 2014, shall be

20   vacated and rescheduled for June 16, 2014, at 1:30 p.m., for oral argument.

21                 So stipulated.

22
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM                      1
     Case 1:12-cr-00168-DAD-BAM Document 69 Filed 05/28/14 Page 2 of 2


1    Dated: May 28, 2014                         /s/ Carolyn D. Phillips
                                               CAROLYN D. PHILLIPS
2                                              Attorney for Shirley Davidson

3
     Dated: March 28, 2014                      BENJAMIN B. WAGNER
4                                               United States Attorney

5
                                         By:    /s/Grant B. Rabenn
6                                               GRANT B. RABENN
                                                Attorneys for the United States.
7

8

9

10

11                                             ORDER

12   IT IS HEREBY ORDERED that the competency hearing in the above-captioned matter

13   now set for May 30, 2014, shall be vacated and rescheduled for oral argument June 16,

14   2014 at 1:30 p.m.

15

16   IT IS SO ORDERED.

     Dated: May 28, 2014
17                                             SENIOR DISTRICT JUDGE
18

19

20

21

22
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM                       2
